                          Case 1:22-mj-05440-JGD
2-6   5HYLVHG86'&0$               Document 1-3 Filed 12/07/22 Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                          Category No.        II                    Investigating Agency           FBI

City      Melrose                                   Related Case Information:

County                                              6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                    6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                    0DJLVWUDWH-XGJH&DVH1XPEHU             22-mj-5440-JGD-
                                                    6HDUFK:DUUDQW&DVH1XPEHU             21-mj-5544-JGD
                                                    55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         Patrick Baxter                                            -XYHQLOH                 G <HV G
                                                                                                                 ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU               G          ✔
                                                                                                               <HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH Melrose, MA
                      1980
%LUWKGDWH <URQO\ BBBBB661                      M
                                  ODVW BBBBBBBB 6H[BBBBB              5DFHBBBBBBBBBBB           1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                  Douglas Ryan                             $GGUHVV 10 Post Office Square #800

Bar Number                                                                                       Boston, MA 02109

U.S. Attorney Information:

AUSA         David G. Tobin                                             %DU1XPEHULIDSSOLFDEOH       552558

Interpreter:            G <HV           ✔ 1R
                                        G                     /LVWODQJXDJHDQGRUGLDOHFW

Victims:                ✔
                        G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                  G <HV      ✔ 1R
                                                                                                                               

Matter to be SEALED:                ✔
                                    G <HV           G     1R

          G✔ :DUUDQW5HTXHVWHG                          G 5HJXODU3URFHVV                         G ,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                         
G $OUHDG\LQ6WDWH&XVWRG\DW                                           G 6HUYLQJ6HQWHQFH               G $ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                      RQ

Charging Document:                      ✔ &RPSODLQW
                                        G                           G ,QIRUPDWLRQ                      G ,QGLFWPHQW
                                                                                                                      2
Total # of Counts:                      G 3HWW\                  G0LVGHPHDQRU                     G )HORQ\
                                                                                                       ✔

                                            &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     12/07/2022                           6LJQDWXUHRI$86$ V'DYLG*7RELQ
                         Case 1:22-mj-05440-JGD Document 1-3 Filed 12/07/22 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Patrick Baxter

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged       Count Numbers

6HW     18 U.S.C. 2252A                              Possession of Child Pornography                  1


          18 U.S.C. 2252A                              Receipt of Child Pornography                     2
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
